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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

ALIGN TECHNOLOGY, INC.,

                      Plaintiff,
                                                      Case No. 6:24-cv-00187-ADA-DTG
       v.
                                                      PATENT CASE
CLEARCORRECT OPERATING, LLC,
CLEARCORRECT HOLDINGS, INC., &
INSTITUT STRAUMANN AG,                                JURY TRIAL DEMANDED

                      Defendants.



CLEARCORRECT OPERATING, LLC,
CLEARCORRECT HOLDINGS, INC., &
STRAUMANN USA, LLC,


                      Counterclaim-Plaintiffs,

       v.

ALIGN TECHNOLOGY, INC.,

                      Counterclaim-Defendant.



                    ORDER ON OCT. 25, 2024 DISCOVERY DISPUTE

       Before the Court is Plaintiff and Counterclaim-Defendant Align Technology, Inc.’s

(“Align”) October 25, 2024, dispute chart (Exhibit 1) seeking an order compelling Defendants

and/or Counterclaim-Plaintiffs ClearCorrect Operating, LLC, ClearCorrect Holdings, Inc.,

Straumann USA, LLC, and Institut Straumann AG (collectively, “ClearCorrect”) to produce all

documents responsive to Align’s Request for Production No. 23 from SoftSmile Inc. v. Institut

Straumann AG et al., No. 22-cv-1189 (D. Del.) and a related arbitration (“SoftSmile actions”).

       Having considered the parties’ positions, the Court DENIES Align’s request. The Court

ORDERS ClearCorrect to produce, by November 22, 2024, all documents produced by
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ClearCorrect in the SoftSmile actions that are responsive to Align’s discovery requests in this

case other than Align’s Request for Production No. 23.

         The Court further ORDERS the parties to meet and confer regarding whether briefing,

supporting exhibits, responses to discovery requests, declarations, testimony, expert reports, and

other documents served or filed in the SoftSmile actions should be produced. If the parties

cannot reach an agreement regarding those materials, Align may seek further relief from the

Court.

         SIGNED this 13th day of November, 2024.




                                             DEREK T. GILLILAND
                                             UNITED STATES MAGISTRATE JUDGE




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                  former Align employee, Artem         ClearCorrect has already agreed
                  Borovinskikh, in building the        to produce core technical
                  accused software. In 2020,           documents, documents sufficient
                  ClearCorrect hired Mr.               to show the conception,
                  Borovinskikh.                        development, and operation of
                                                       the accused features (including
                                  ECF No. 78 at 2.     ClearCorrect’s treatment planning
                  ClearCorrect launched eight          software), documents relating to
                  versions of the accused software     prior art relating to the asserted
                  under his watch, and he presently    patents, and non-privileged
                  serves as its “Global Head of        documents relating to
                  Orthodontic Software.” ECF No.       ClearCorrect’s knowledge of
                  92 at 2. Evidence of Mr.             those patents and ClearCorrect’s
                  Borovinskikh’s involvement is        purported knowledge of alleged
                  further relevant to copying.         infringement of those patents.
                                                       Further, Align has two broad
                  The documents sought are also        RFPs targeted to documents
                  relevant because                     relating to Mr. Borovinskikh, the
                                                       scope of which the parties are
                                                       negotiating.

                           ECF No. 78 at 2.            Align’s claim that ClearCorrect
                  Discovery is necessary to            has refused to produce any
                  understand what, if anything, he     materials from the SoftSmile
                  said and opined regarding            arbitration is false. It is Align
                  ClearCorrect’s software              that has repeatedly refused to
                  development history.                 “identify with specificity the
                                                       documents that it is seeking with
                  Align’s Request is proportional to   [RFP 23], and that ClearCorrect
                  the needs of this case. Apart from   has not otherwise agreed to
                  this RFP and its subpoena to         produce in response to other
                  SoftSmile, which ClearCorrect has    RFPs.” 10/10/2024 Letter.
                  obstructed, Align has no way to      Indeed, Align rejected
                  obtain the requested briefing,       ClearCorrect’s request to further
                  supporting exhibits, responses to    meet and confer before raising
                  discovery requests, declarations,    this dispute. Despite this,
                  testimony, and expert reports. And ClearCorrect has offered to
                  other than those materials, only a   search the underlying company
                  moderate number of documents is at documents it produced in the
                  issue. ECF No. 78 at 1               SoftSmile arbitration for
                  (ClearCorrect: “thousands”).         documents that are responsive to
                  Reproducing these materials—         Align’s other requests in this
                  which SoftSmile stands ready to      case. Align rejected this offer,
                  produce despite its objections and   showing this for the fishing
                  pending a meet-and-confer            expedition it is.
                  regarding scope, breadth, and
                  relevance—should not unduly          Finally, Align draws a false
                  burden ClearCorrect.                 equivalency between its request
                                                       here and its own agreement to
                  Align expects ClearCorrect to        reproduce documents it produced
                  counter that “cloned discovery”      in prior antitrust cases. Those
                  (i.e., the wholesale reproduction of cases also involved Align’s
                  documents from other cases) is       alleged monopolization of the



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                  disfavored. But Align has not             same markets at issue in this case.
                  requested every document from the         And, although ClearCorrect’s
                  SoftSmile action. It seeks                claims are much more expansive
                  documents relating to Align, the          with respect to the
                  accused products, Align’s practicing      anticompetitive tactics alleged,
                  products, and Align’s asserted            including additional conduct
                  patents. Regardless, the issue is not     intended to impair competition
                  whether documents were produced           from competing clear aligner
                  in another case, but whether they         companies, there’s no serious
                  are “relevant to any party’s claim or     question that the discovery in
                  defense and proportional to the           those earlier, narrower antitrust
                  needs of the case.” Fed. R. Civ. P.       cases is relevant. Align does not
                  26. Here, the documents sought are        dispute that, has agreed to
                  both.                                     reproduce those, and in fact has
                                                            already cited many of them in its
                  Relief: Order that “ClearCorrect          interrogatory responses.
                  must produce all briefing,
                  supporting exhibits, responses to         Relief: Order that “Align’s
                  discovery requests, declarations,         request regarding Request For
                  testimony, expert reports, and other      Production 23 is denied” and
                  documents that it produced, served,       “ClearCorrect’s compromise
                  or filed in SoftSmile, Inc. v. Institut   proposal, i.e. to review the
                  Straumann AG et al., No. 22-cv-           company documents produced in
                  01189 (D. Del.) and any related           the SoftSmile arbitration that are
                  mediation, arbitration, or inter          responsive to the other discovery
                  partes review proceedings that refer      requests in this case is adopted.”
                  or relate to Align, the Accused
                  Products, the Align Products, or the
                  Asserted Patents within 7 days.”




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